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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                Case No. 8:04-cr-297-T-23TGW

    OSCAR ANDRES CARRERA
                                               /



                                            ORDER

          On May 10, 2005, the court directed the defendant to show cause on or before

    May 23, 2005, why his “Motion to Intervene and Defend” (Doc. 165) and “Motion for

    Return of Property F.R.CR.P.41(e)” (Doc. 166) should not be denied in light of the

    United States’ response to the motions (Doc. 170). The defendant filed no response

    and the time for responding is expired. Accordingly, the defendants motions (Docs. 165

    and 166) are DENIED for the reasons given in the United States’ response.

          ORDERED in Tampa, Florida, on June 7, 2005.
